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                                     UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION AT LEXINGTON


 IN RE CLASSICSTAR MARE LEASE                                       )       MDL No. 1877
 LITIGATION                                                         )
                                                                    )
                                                                    )        Master File:
 AND                                                                )       Civil Action No.: 5:07-cv-353-JMH
                                                                    )
 WEST HILLS FARMS, LLC, ET AL.                                      )
                                                                    )
                                        PLAINTIFFS                  )
 V.                                                                 )       CASE NO.: 06-243-JMH
                                                                    )
 CLASSICSTAR, LLC, ET AL.                                           )
                                                                    )
                                        DEFENDANTS                  )


                                          PLAINTIFFS’ BILL OF COSTS

            Plaintiffs West Hills Farms, LLC, Arbor Farms, LLC, Nelson Breeders, LLC,

 MacDonald Stables, LLC and Jaswinder and Monica Grover (“Plaintiffs”), through counsel, and

 pursuant to Federal Rule of Civil Procedure 54(d)(1), LR 54.3, and this Court’s November 8,

 2011 and March 30, 2012 Judgment, moves the Court for an Order awarding costs in favor of

 Plaintiffs as the prevailing party. As itemized below, Plaintiffs requests the actual cost to

 Plaintiffs for:

            1.        Fees of the clerk.                                                               $700.00

            2.        Fees for service of summons and subpoena.                                       $5671.62

            3.        Fees for printed or electronically recorded transcripts.                      $74,590.84

            4.        Fees for exemplification and the costs of making copies.                     $138,573.58

 TOTAL                                                                                            $219,536.04.1


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     Plaintiffs’ Declaration in Support of their Bill of Costs is attached here as Exhibit A.
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                                     FEES OF THE CLERK

 Clerk, U.S. District Court - Filing Fee, Complaint                               $   350.00
 Clerk, U.S. District Court - Filing Fee, Complaint                               $   350.00

 TOTAL                                                                            $   700.00


                  FEES FOR SERVICE OF SUMMONS AND SUBPOENA

 Prestive Legal Services /Service of summons on T. Ferguson                       $     25.00
 Joyce Clater, Constable /Service of complaint on Classic Star, LLC and Classic   $     40.00
 Star Farms, LLC
 Secretary of State /Service of summons                                           $     40.00
 Ballard Services /Service of summons on Geostar Corp.                            $     66.73
 Constable Services, LLC /Service of summonses (2)                                $     92.00
 Legal Messenger, Inc. /Service of subpoena                                       $      8.25
 Joyce Clater, Constable /Service of subpoena                                     $     20.00
 Rainbow Express, Inc. /Service of subpoena                                       $     55.00
 Action Services /Service of subpoena                                             $     60.00
 Gray Security /Service of subpoena                                               $     75.00
 CCSO /Service of subpoena (3)                                                    $     47.00
 Prestige Legal Services /Service of subpoena                                     $     27.50
 County Sheriff /Service of subpoena                                              $     42.00
 Chris Wright & Associates /Service of subpoena.                                  $     35.00
 Front Range Legal Process Service /Service of subpoena.                          $    135.00
 Fuller & Associates /Service of subpoena.                                        $    270.00
 Precise Process /Subpoena -- Anderson                                            $     45.00
 American Process Service /Subpoena                                               $     60.00
 Tinsley Investigative Services /Subpoena -- Karren Hendrix                       $     75.00
 Tinsley Investigative Services /Subpoena -- Private Consulting                   $    100.00
 Judicial Attorney Services /Subpoena                                             $     45.00
 Accelerated Process Service /Subpoena                                            $     60.00
 Accelerated Process Service /Subpoena                                            $     60.00
 County Sheriff /Subpoena -- Bronco Billy                                         $     30.00
 Bakersfield Legal Process Services /Subpoena -- Rains                            $     35.00
 Serve You Right /Subpoena                                                        $     35.00
 Aardvark Legal Services /Subpoena -- Black Rock                                  $     70.00
 Aspen County Process Services /Subpoena -- Iron Rose                             $     75.00
 Dean Pope /Subpoena -- Morris                                                    $     55.00
 United Process Service /Subpoena -- Brown                                        $     60.00
 Michael L. Cooper /Subpoena -- Rodrique                                          $     85.00

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 Front Range Legal Process /Service Service of subpoena on Paul Russell,          $   285.00
 Stephan Ralson and Jerry Cronquist.
 Fuller & Associates, Inc. /Service of subpoena on Betsy Mecom, Robert Rust,      $   580.00
 Ricky McCord, Larry Hall Cutting Horses, Crown Ranch and David McDavid.
 Service of Process - County Sheriff /Allsup                                      $    30.00
 Serve You Right /Service of subpoena on Flying M Ranch. Second address.          $    35.00
 Fuller & Associates, Inc. /Service of subpoena on David McDavid.                 $    85.00
 Eastern Washington Attorney Services /Subpoena on Ron Knutson                    $    40.00
 Merritt Process Services                                                         $    30.00
 Delaware Attorney Services, Inc. /Subpoena                                       $    60.00
 Legal Beagles, Inc. /Subpoena on Pinnacle Oil                                    $    45.00
 Assured Civil Process Agency /Subpoena                                           $    55.00
 Zane Investigations /Subpoena on First Equine Energy                             $    65.00
 Assured Civil Process Agency /Service of subpoena                                $    40.00
 Service of Process - Secretary of State /Summonses (5)                           $    50.00
 Joyce Clater, Constable /Service of Subpoena on Equus Standardbred Station       $    20.00
 North West Legal Support /Service of Subpoena on Doug Anderson &                 $    60.00
 Anderson Corp Finance & Investments
 Roland Brown Legal Services /Service of Subpoena on Donald Schain                $    85.00
 Northwest Legal Support /Service of Subpoena on Doug Anderson                    $    50.00
 Wasatch Investigations, Inc. /Service of Subpoena on Gary Thomson                $    55.00
 ProVest, LLC Service on Great American Insurance Co.                             $    65.00
 Beehive Attorney Service /Service of Subpoena on Zions Bank                      $    50.00
 Lawyers Legal Service, LLC /Service of Subpoena                                  $    75.00
 Special Private Investigations, Inc. /Service of Subpoena                        $    75.00
 Wasatch Investigations, Inc. Service of subpoena on Michael Snow.                $    55.00
 Beehive Attorney Service /Service of Subpoena on Empowered Wealth                $   100.00
 Beehive Attorney Service /Balance due re: service of subpoena on Empowered       $    10.00
 Wealth
 Wasatch Investigations, Inc. /Service of Subpoena on Gary Thomson                $    55.00
 Wasatch Investigations, Inc. /Served Boyce J. Sanderson RE: Case #5:07-cv-       $    55.00
 353-JMH
 Wasatch Investigations, Inc. /Served Lee Brower -- out of state Case #5:07-cv-   $    55.00
 353-JMH
 AKA Litigation Support Services /Service on Gastar Exploration, Ltd, on          $    70.00
 10/09/08.
 Front Range Legal Process Service /Service on Pinnacle Gas Resources, Inc.       $   182.84
 Colorado Court Services, LLC /Service of Subpoena-Rooney C Atherton, ESQ         $    45.00
 Beehive Attorney Service /Service of Subpoena-Frank Suitter, ESQ                 $    90.00
 On Time Processing/On Time Couriers /Service of Summons on Gastar                $    65.00
 Exploration Ltd.


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 Courthouse Connection /Service of Subpoena on Records Custodian, Fred           $     65.00
 Hagans
 ABC Legal Services Inc. dba Process Forwarding International /Service of        $    125.00
 Subpoena on Doug Anderson
 Lazo Agency (The) /Service of Subpoena on J. Pols                               $     60.00
 Sheridan County Sheriff Service of subpoena to Rocky Mountain Gas               $     35.00
 Don Martin & Associates /Service of Process                                     $     42.50
 Rollie Port Investigations /Service of Process                                  $     42.80
 Anderson Investigations, Inc. /Service of Process                               $     45.00
 Anderson Investigations, Inc. /Service of Process                               $     65.00
 Legal Dispatch, Inc. /Service of Process                                        $     75.00
 NorthWinds Investigations, Inc. /Service of Process                             $    100.00
 AAYS, Inc. /Service of Process                                                  $    125.00
 National Legal Process Servers, Inc. /Service of Subpoena on First Source       $     60.00
 Powder River Basin, Inc.
 Metro Detective Agency, LLC /Served Dennis Cipcich on 08/21/09                  $    125.00
 Integrity Research dba Assured Civil Process Agency /Service of Subpoena.       $     60.00

 TOTAL                                                                           $   5671.62


      FEES FOR PRINTED OR ELECTRONICALLY RECORDED TRANSCRIPTS

 Transcript - Kemmery Ann Banta /Transcript of hearing on 1-5-07                 $      24.07
 Transcript - Naegeli Reporting Corporation /C.O.D. Deposition Transcripts       $     923.70
 Transcript - Reporters, Inc. Transcript of John Knowles on 03/26/08             $   1,224.20
 Transcript - Reporters, Inc. Transcript of Scott Plummer on 03/27/08            $   1,434.65
 Transcript - C/R Support Services, Inc. dba Action Court Reporters Transcript   $   4,225.55
 of William Bolles on 09/09/08 & 09/10/08; Byron Dyson on 09/11/08 &
 09/12/08; Byron Dyson 09/11/08 & 09/12/08 (videotaped)
 Transcript - Reporters, Inc. Transcript of Chad Vanderlinden on 10/21/08        $     543.95
 Transcript - Reporters, Inc. Transcript of Shane Plummer Vol. 2 on 10/23/08     $     698.20
 Transcript - Reporters, Inc. Transcript of Carol Shrives, Chad Vanderlinden,    $   2,460.25
 Shene Plummer on 10/20/08
 Transcript - Reporters, Inc. Transcript of Shane Plummer on 10/22/08            $     662.20
 Transcript - TSG Reporting, Inc. Transcript of Frederick Lambert on 10/17/08    $   1,048.10
 Transcript - TSG Reporting, Inc. Transcript of Danny Hendrix on 11/05/08        $     572.50
 Transcript - TSG Reporting, Inc. Transcript of Gary Thomson on 10/21/08         $     857.50
 Transcript - TSG Reporting, Inc. Transcript of Gary Thomson on 10/21/08         $     989.25
 Transcript - TSG Reporting, Inc. Transcript of Danny Hendrix on 11/05/08        $     990.95
 Transcript - Clark Reporting, Inc. Transcript of David Shoemaker, CPA on        $   1,274.60
 12/08/08

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 Transcript - London Verbatim Reporting Deposit on deposition transcripts.       $     800.00
 Transcript - TSG Reporting, Inc. Transcript of Timothy Gillepsie on 11/12/08;   $   2,367.10
 Jeffrey Culp on 11/21/08; Jerry Mauro on 11/25/08
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    656.83
 Transcript of George Hofmeister on 02/05/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $   1,066.59
 Transcript of Walter E. Remmers on 02/06/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    370.37
 Transcript of Michael King on 02/13/09
 Transcript - TSG Reporting, Inc. Transcript of Lee Brower on 02/12/09           $   1,242.60
 Transcript - TSG Reporting, Inc. Transcript of Lee Brower on 02/12/09           $   1,047.50
 Transcript - TSG Reporting, Inc. Transcript of Toby Norton on 03/10/09          $   1,321.05
 Transcript - Carol A. O'Bryan, CCR Transcript of Pete Schoonmaker & Luke        $   1,287.95
 Hansen
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    240.86
 Transcript of Raymond Klupenger on 04/08/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    382.87
 Transcript of Kathryn D#Ann Eakin on 04/09/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    407.90
 Transcript of Randall Scott Robinson on 04/08/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    417.57
 Transcript of Gleason Eakin on 04/07/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    462.63
 Transcript of Stephen Lovegren on 04/09/09
 Transcript - TSG Reporting, Inc. Transcript of Thomas Bissmeyer on 03/11/09     $    893.85
 Transcript - Todd & Associates Reporting, Inc. Transcript of Chad Lashbrook     $    134.45
 on 05/28/09
 Transcript - Todd & Associates Reporting, Inc. Transcript of William E Bolles   $    141.00
 (did not appear) on 05/14/09
 Transcript - TSG Reporting, Inc. Transcript of Susan Bunning on 05/12/09        $    297.40
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    319.55
 Transcript of Olin Gentry on 05/12/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    527.52
 Transcript of Patrick Riley on 06/04/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $    795.13
 Transcript of Mary H Sackhoff on 06/02/09
 Transcript - TSG Reporting, Inc. Transcript of Robert Keys on 04/10/09          $   1,085.00
 Transcript - TSG Reporting, Inc. Transcript of Robert Keys on 04/10/09          $   1,674.50
 Transcript - Todd & Associates Reporting, Inc. Transcript of William E Bolles   $   3,539.25
 on 05/13/09
 Transcript - TSG Reporting, Inc. Transcript of Doug Anderson on 06/03/09        $    572.50
 Transcript - TSG Reporting, Inc. Transcript of Doug Anderson on 06/06/08        $    602.85

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 Transcript - TSG Reporting, Inc. Transcript of Thomas Bissmeyer on 03/11/08     $    800.00
 Transcript - Collins & Hughes Reporting Service Transcript of Bryan Walter      $    965.60
 Nelson on 07/08/09
 Transcript - Todd & Associates Reporting, Inc. Transcript of Andrew             $    205.85
 Osmundson on 08/13/09 & Danny Dougan on 08/18/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $   1,247.03
 Transcript of Paul Bangerter Vol. II on 03/09/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $   1,619.40
 Transcript of Jon Freston on 02/20/09
 Transcript - West Publishing Corporation dba West Group Payment Center ~        $   1,869.94
 Transcript of Paul Logan Bangerter on 02/19/09
 Transcript - TSG Reporting, Inc. Transcript of Lynn MacDonald on 07/30/09       $     320.00
 Transcript - TSG Reporting, Inc. Transcript of Lynn MacDonald on 07/30/09       $     788.95
 Transcript - TSG Reporting, Inc. Transcript of Michael Gerlich on 08/24/09      $     852.50
 Transcript - TSG Reporting, Inc. Transcript of James Porter on 08/25/09         $   1,166.25
 Transcript - Esquire Transcript of Mindi Morishita on 08/17/09                  $   1,344.15
 Transcript - TSG Reporting, Inc. Transcript of Michael Gerlich on 08/24/09      $   1,346.00
 Transcript - TSG Reporting, Inc. Transcript of James Porter on 08/25/09         $   1,733.05
 Transcript - Esquire Transcript of Jaswinder Grover & Monica Grover on          $   2,746.30
 08/18/09
 Transcript - TSG Reporting, Inc. Transcript of Dennis Sackhoff & Walter         $    372.85
 Remmers on 09/08/09
 Transcript - Todd & Associates Reporting, Inc. Transcript of Tiffany Randolph   $     48.00
 on 09/23/09
 Transcript - Todd & Associates Reporting, Inc. Transcript of Rex Gingerich,     $   1,280.75
 Dennis Cipcich, William Pederson, Wesley on 08/28/09 & Justin Jones on
 09/01/09
 Transcript - Continental Court Reporters Inc Transcript of Jonathan Edward      $   2,695.25
 Kemmerer on 04/28/10
 Transcript - TSG Reporting, Inc. Transcript of Frank Merrill on 03/12/10        $    753.35
 Transcript - Nancy M Walker Transcript of Hearing on 04/01/10 RE: USA v         $     18.90
 Parrott
 Transcript - TSG Reporting, Inc. Transcript of George Keeney on 03/05/10        $    320.00
 Transcript - TSG Reporting, Inc. Transcript of George Keeney on 03/04/10        $    729.30
 Transcript - Reed Elsevier Inc dba IDEX, Inc Previous testimony of J.           $    160.00
 Kemmerer.
 Transcript - TSG Reporting, Inc. Transcript of Lincoln Collins on 04/09/10      $    421.20
 Transcript - Todd & Associates Reporting, Inc. Transcript of West Hills Farms   $    100.00
 v Classicstar on 08/12/10
 Transcript - TSG Reporting Inc Transcript of Sulaksh Shah on 05/14/10           $   1,923.80
 Transcript - TSG Reporting Inc Transcript of Bruce Dubinsky on 05/13/10         $   2,071.85
 Naegeli Reporting Corporation /C.O.D. Deposition Transcripts - Videographer     $     435.00
 Media Copy - Deposition of Mary Sackhoff

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 Reporters, Inc. Deposition (video) of Dr. John Knowles on 03/26/08            $     1,200.00
 Reporters, Inc. Deposition (video) of Scott Plummer on 03/27/08               $     1,390.00
 Michigan Video Services Deposition of David Shoemaker on 12/08/08             $       677.98
 TSG Reporting, Inc. Depostion (video) of Lee Brower on 02/12/09               $     1,037.50
 Depositions - TSG Reporting Inc Deposition of Edward Morse on 03/10/10        $     1,000.60
 TSG Reporting Inc Deposition (DVD) of Jeffrey Culp on 11/21/08                $       290.00
 The Onstad Law Firm Deposition (DVD) of Terry Gerguson                        $        75.00

 TOTAL                                                                         $    74,590.84


       FEES FOR EXEMPLIFICATION AND THE COSTS OF MAKING COPIES

 Reproductions                                                             $       121,845.85
 Color Reproductions                                                       $         5,120.95
 Outside Copy Services                                                     $        11,606.78

 TOTAL                                                                     $       138,573.58


 GRAND TOTAL                                                                   $ 219,536.04




                                                 Respectfully submitted,


                                                 /s/ Barry D. Hunter
                                                 Paul E. Sullivan
                                                 Barry D. Hunter
                                                 Medrith Lee Norman
                                                 Frost Brown Todd LLC
                                                 250 West Main Street, Suite 2800
                                                 Lexington, Kentucky 40507-1749
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                                           Robert C. Webb
                                           Frost Brown Todd LLC
                                           400 West Market Street, 32nd Floor
                                           Louisville, Kentucky 40202-3363
                                           Telephone: (502) 589-5400
                                           Facsimile: (502) 581-1087

                                           Attorneys for West Hills Farms, LLC,
                                           Arbor Farms, LLC, Nelson Breeders, LLC,
                                           MacDonald Stables, LLC and Monica and
                                           Jaswinder Grover




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                                       CERTIFICATE OF SERVICE

          This is to certify that a true and correct copy of the foregoing has been electronically filed

 on April 30, 2012, with the Clerk of the Court by using the CM/ECF system, which will send a

 notice of electronic filing to the parties of record.



                                                         /s/ Barry D. Hunter
                                                         Counsel for Plaintiffs


 LEXLibrary 0108868.0536983 488756v1




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